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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

MARCIA DAY DONDIEGO, et al.,              :
              Plaintiffs,                 :
                                          :
                  v.                      :               Civil No. 5:22-cv-02111-JMG
                                          :
LEHIGH COUNTY BOARD OF ELECTIONS,         :
et al.,                                   :
                  Defendants.             :
__________________________________________

                                          ORDER

        AND NOW, this 3rd day of June, 2022, upon consideration of the email

 correspondence from counsel dated June 3, 2022, it is hereby ORDERED that an in-person

 evidentiary hearing is scheduled for Wednesday, June 8, 2022, at 9:00 a.m., in the Edward

 N. Cahn Federal Building, in Courtroom 4B, United States District Court located at 504 West

 Hamilton Street, Allentown, Pennsylvania 18104.


                                                   BY THE COURT:



                                                   /s/ John M. Gallagher
                                                   JOHN M. GALLAGHER
                                                   United States District Court Judge
